                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC LIBRARY, et al. a political
subdivision in the City of Fayetteville, State of
Arkansas; EUREKA SPRINGS CARNEGIE PUBLIC
LIBRARY; CENTRAL ARKANSAS LIBRARY
SYSTEM; NATE COULTER; OLIVIA FARRELL;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA
CAPLINGER; ADAM WEBB; ARKANSAS
LIBRARY ASSOCIATION; ADVOCATES FOR ALL
ARKANSAS LIBRARIES; PEARL’S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE LLC
d/b/a WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION
OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; FREEDOM TO READ FOUNDATION                          PLAINTIFFS


V.                            NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS
KEITH, in his official capacity as Crawford County
Judge; TODD MURRAY; SONIA FONTICIELLA;
DEVON HOLDER; MATT DURRETT; JEFF
PHILLIPS; WILL JONES; TERESA HOWELL; BEN
HALE, CONNIE MITCHELL, DAN TURNER, JANA
BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE
HUNTER; DANIEL SHUE; JEFF ROGERS; DAVID
ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY
ROGERS; JOSHUA ROBINSON; CAROL CREWS;
KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each in his or her official capacity as a
prosecuting attorney for the State of Arkansas;             DEFENDANTS


               PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
       Plaintiffs Fayetteville Public Library, Eureka Springs Carnegie Public Library, Central

Arkansas Library System, Nate Coulter, Olivia Farrell, Miel Partain, in her own capacity and as

parent and next friend of Madeline Partain, Leta Caplinger, Adam Webb, Arkansas Library

Association, Advocates for all Arkansas Libraries, Pearl’s Books, LLC, Wordsworth Community

Bookstore LLC d/b/a Wordsworth Books, American Booksellers Association, Association of

American Publishers, Inc., Authors Guild, Inc., Comic Book Legal Defense Fund, and Freedom

to Read Foundation (collectively, “Plaintiffs”), by and through their attorneys, respectfully submit

this Motion for Summary Judgment (the “Motion”). In support of their Motion, Plaintiffs state as

follows:

       1.      This case involves a constitutional challenge to Sections 1 and 5 of Arkansas Act

372 of 2023, implementation and enforcement of which is presently enjoined pursuant to the

Court’s July 29, 2023 order. See Prelim. Inj. Op. (hereinafter “PI Op.”) (Doc. 53); Am. Compl.

(Doc. 75).

       2.      Section 1 of Act 372 creates “a new Class A misdemeanor offense called

‘furnishing a harmful item to a minor.’” PI Op. at 13 (quoting Act 372 § 1). An individual is guilty

of this new crime, which is punishable by imprisonment for up to one year, “if, knowing the

character of the item involved, the person knowingly . . . [f]urnishes, presents, provides, makes

available, gives, lends, shows, advertises, or distributes to a minor an item that is harmful to

minors.” Act 372 § 1(b)(1).

       3.      Section 5 of Act 372 “concerns the ‘[e]stablishment of guidelines for selection,

relocation, and retention of [library] materials.” PI Op. at 15 (quoting Act 372 § 5(a)). Section 5

requires that public libraries establish “a written policy for addressing challenged material that is

physically present in the library and available to the public.” Act 372 § 5(b). In particular, the



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required procedure must allow any “person affected” to “challenge the appropriateness of material

available in the” public library’s collection. Id. § 5(c)(1) (emphasis added).

       4.      As set forth fully in Plaintiffs’ accompanying Brief, Sections 1 and 5 restrains

public libraries and booksellers in Arkansas from making available constitutionally protected

books and other materials to their patrons and customers, which burdens the rights of those

individuals to read and to receive information.

       5.      Section 1 violates the First and Fourteenth Amendments because it imposes a

content-based restriction on speech that is not narrowly tailored, is overly broad, and is vaguely

worded.

       6.      Section 5 violates the First and Fourteenth Amendments by relying on vague and

undefined terms that permit arbitrary implementation; imposing a content-based restriction on

protected speech that is not narrowly tailored to serve a compelling interest; failing to prove a

mechanism for judicial review; and facilitating discrimination on the basis of viewpoint.

       7.      Plaintiffs seek an order declaring Sections 1 and 5 unconstitutional and permanently

enjoining Defendants 1 from implementing or enforcing those provisions.

       8.      The parties have completed the agreed upon discovery and there are no material

facts that are genuinely in dispute. Accordingly, summary judgment is appropriate to resolve

Plaintiffs’ claims as a matter of law. See Fed. R. Civ. P. 56.




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  Defendants Crawford County and Chris Keith are referred to, collectively, as the “County
Defendants.” Defendants Todd Murray, Sonia Fonticiella, Devon Holder, Matt Durrett, Jeff
Phillips, Will Jones, Teresa Howell, Ben Hale, Connie Mitchell, Dan Turner, Jana Bradford, Frank
Spain, Tim Blair, Kyle Hunter, Daniel Shue, Jeff Rogers, David Ethridge, Tom Tatum II, Drew
Smith, Rebecca Reed McCoy, Michelle C. Lawrence, Debra Buschman, Tony Rogers, Joshua
Robinson, Carol Crews, Kevin Holmes, Chris Walton, and Chuck Graham are referred to,
collectively, as the “Prosecutor Defendants.”
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       9.     Plaintiffs submit a Statement of Undisputed Facts and a Brief in Support of the

Motion, which Plaintiffs hereby incorporate by reference. See Fed. R. Civ. P. 56; W.D. Ark. L.R.

56.1; W.D. Ark. L.R. 7.2.

       10.    The Plaintiffs submit the following in support of this Motion:

              a. Exhibit 1: Declaration of John T. Adams;

              b. Exhibit 2: Declaration of Deborah Caldwell-Stone, Executive Director and

                  Secretary of the Freedom to Read Foundation;

              c. Exhibit 3: Declaration of Judy Calhoun, Regional Director of the Southeast

                  Arkansas Regional Library;

              d. Exhibit 4: Declaration of Carol Coffey, Past-President of the Arkansas Library

                  Association;

              e. Exhibit 5: Declaration of Nate Coulter, Executive Director of the Central

                  Arkansas Library System (CALS);

              f. Exhibit 6: Declaration of Christina Danos, Director of the Eureka Springs

                  Carnegie Public Library (ESCPL);

              g. Exhibit 7: Declaration of Olivia Farrell;

              h. Exhibit 8: Declaration of David Grogan, Director of the American Booksellers

                  for Free Expression;

              i. Exhibit 9: Declaration of Patty Hector, former Library Director of the Saline

                  County Library;

              j. Exhibit 10: Declaration of David Johnson, Executive Director of the

                  Fayetteville Public Library;

              k. Exhibit 11: Declaration of Daniel Jordan, co-owner of Pearl’s Books;



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l. Exhibit 12: Declaration of John McGraw, Regional Director of the

   Faulkner-Van Buren Regional Library system;

m. Exhibit 13: Declaration of Reverend John Paul Myrick, Regional Librarian for

   the East Central Arkansas Regional Library;

n. Exhibit 14: Declaration of Mary E. Rasenberger, Chief Executive Officer of the

   Author’s Guild, Inc.;

o. Exhibit 15: Declaration of Matthew D. Stratton, Deputy General Counsel of the

   Association of American Publishers;

p. Exhibit 16: Declaration of Jeff Trexler, Interim Director of the Board of the

   Comic Book Legal Defense Fund;

q. Exhibit 17: Declaration of Adam Webb, Executive Director of Garland County

   Library and President of Advocates for All Arkansas Libraries;

r. Exhibit 18: Declaration of Kandi West, co-owner of WordsWorth Books;

s. Exhibit 19: Leta Jo Caplinger Deposition Transcript;

t. Exhibit 20: Madeline Anne Partain Deposition Transcript;

u. Exhibit 21: Miel Ann Delorey Partain Deposition Transcript;

v. Exhibit 22: Eva Doyce White Deposition Transcript;

w. Exhibit 23: Crawford County Judge Christopher Lee Keith Deposition

   Transcript;

x. Exhibit 24: Donald Nathan Coulter Deposition Transcript;

y. Exhibit 25: Prosecutor Defendants’ Response to Plaintiffs’ Discovery Requests;

z. Exhibit 26: November 8, 2022 Meeting Minutes of the Crawford County

   Library System Board;



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              aa. Exhibit 27: November 10, 2022 letter from Jeffrey and Tamara Hamby to the

                  Crawford County Quorum Court, County Judge, and County Judge-Elect;

              bb. Exhibit 28: December 19, 2022 Meeting Minutes of the Crawford County

                  Quorum Court;

              cc. Exhibit 29: January 10, 2023 Meeting Minutes of the Crawford County Library

                  System Board;

              dd. Exhibit 30: List of books in the “Social Sections” in the Crawford County

                  Library System;

              ee. Exhibit 31: May 23, 2023 letter from Gentry C. Wahlmeier to Brian Meadors

                  and Terrence Cain;

              ff. Exhibit 32: May 23, 2023 letter from Gentry C. Wahlmeier to CCLS Board.

       WHEREFORE, Plaintiffs respectfully request that the Court grant their Motion and issue

an order declaring unconstitutional and permanently enjoining Defendants from implementing or

enforcing Sections 1 and 5 of Act 372.




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Respectfully submitted,                         Vincent O. Chadick
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2024, a copy of the foregoing was served upon all counsel

of record contemporaneously with its filing in the CM/ECF system.

                                                           /s/ John T. Adams
                                                           John T. Adams




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